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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF LOUISIANA

   ANTHONY TELLIS and BRUCE CHARLES *                       JUDGE ELIZABETH E. FOOTE
   on behalf of themselves and all others similarly *       USMJ MARK L. HORNSBY
   situated                                         *
                                                    *
   VERSUS                                           *
                                                    *
   JAMES M. LEBLANC, Secretary                      *
   of the Louisiana Department of Public Safety *
   and Corrections, JERRY GOODWIN,                  *
   Warden of David Wade Correction Center           *       CIVIL ACTION
   COL. VINCENT COLEMAN;                            *
   DOCTOR GREGORY SEAL; DEPUTY                      *       NO.: 5:18-CV-00541-EEF-MLH
   WARDEN DEBORAH DAUZAT;                           *
   STEVE HAYDEN; AERIAL ROBINSON;                   *
   JOHNIE ADKINS; and THE                           *
   LOUISIANADEPARTMENT OF                           *
   PUBLIC SAFETYAND CORRECTIONS                     *

      DEFENDANTS’ PHASE II SUR-REPLY BRIEF REGARDING ASSOCIATIONAL
                     STANDING AND BURDEN OF PROOF

            Defendants, the Louisiana Department of Public Safety and Corrections (sometimes

   “DPS&C or the “Department”); James M. Leblanc, in his official capacity as Secretary of the

   Louisiana Department of Public Safety and Corrections; Jerry Goodwin, in his official capacity as

   Warden of David Wade Correctional Center; Deborah Dauzat, in her official capacity as Assistant

   Warden of David Wade Correctional Center; and Vincent Coleman, Dr. Gregory Seal, Steve

   Hayden, Aerial Robinson, and Johnie Adkins (all in their official capacities as employees of the

   David Wade Correctional Center) (collectively the “Defendants”), respectfully submit their sur-

   reply brief to address issues raised for the first time in Plaintiffs’ reply brief.

       I.      THE PLRA PROVIDES LIMITS TO ANY PROSPECTIVE RELIEF
               REGARDLESS OF DRLA’S ASSOCIATIONAL STANDING

            The Plaintiffs claim that they can circumvent the PLRA and have “a supplemental basis”

   for their sought remedies because the Court allowed an amendment to the complaint to name

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   DRLA as plaintiff under a theory of associational standing. 1 [R. Doc. 734 at 5.] Plaintiffs cite no

   authority for this proposition which runs counter to the theory of associational standing that this

   Court used to allow DRLA to join this lawsuit, DRLA’s own pleadings, and the plain language of

   the PLRA. [see R. Doc. 153 at 7 “The court agrees with Plaintiffs that this case presents exactly

   the sort of claims and remedies for which associational standing is appropriate.”; R. Doc. 178 at

   13 “Therefore, this Court affirms the Magistrate Judge’s finding that the Advocacy Center has

   associational standing.” (emphasis added)]

           In its second amended complaint, DRLA (f/k/a The Advocacy Center) explicitly pleaded

   that it “has associational standing to bring this lawsuit.” [R. Doc. 316 at 7 ¶20, 9 ¶27.] In Hunt v.

   Washington State Apple Advert. Comm'n, 432 U.S. 333, 342, 97 S. Ct. 2434, 2441, 53 L. Ed. 2d

   383 (1977), the United States Supreme Court held that “an association may have standing solely

   as the representative of its members. . . .” DRLA’s rights in this litigation are only those of the

   offenders they represent through associational standing. Because DRLA’s standing derives solely

   from representation by the use of associational standing, DRLA has no greater rights than the

   prisoner class and is subject to the PLRA as is the prisoner class. The Second Amended Complaint

   raises the same claims under the same theories as the class. [See, e.g., R. Doc. 316 at ¶¶ 114, 123,

   210, 251, 290, 291, 294]

           The PLRA itself also prohibits a “supplemental basis” for remedies. The PLRA clearly

   states that “[p]rospective relief in any civil action with respect to prison conditions shall extend no

   further than necessary to correct the violation of the Federal right of a particular plaintiff or

   plaintiffs.” 18 U.S.C. § 3626 (emphasis added). DRLA as a plaintiff (albeit one by representation

   through alleged associational standing) is subject to the requirements of the PLRA. See Green


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     See R. Doc. 153 at 4-7 and R. Doc. 178 (allowing DRLA to be added as a plaintiff on the theory of associational
   standing).
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   Haven Prison Preparative Meeting of Religious Soc'y of Friends v. New York State Dep't of Corr.

   & Cmty. Supervision, 16 F.4th 67, 82 (2d Cir. 2021), cert. denied sub nom. Green Haven

   Preparative Meeting v. New York State Dep't of Corr. & Cmty. Supervision, 212 L. Ed. 2d 763,

   142 S. Ct. 2676 (2022) (“The action brought by Green Haven Meeting is brought to vindicate the

   rights of its members, and those members, as prisoners, are bound by the requirements of the

   PLRA.”) Thus, any attempt by DRLA to assert any additional rights to relief beyond those of the

   offenders they claim to represent through associational standing is without merit.

   II.    PLAINTIFFS FAILED TO CARRY THEIR BURDEN OF PROOF IN LIGHT OF
          DEFENDANTS’ SHOWING AT TRIAL.

          Plaintiffs also address the burden of proof for the first time in reply but remained silent as

   to their ultimate burden. [R. Doc, 734 at 7-9.] As directed by this Court, the Defendants

   demonstrated a vast multitude of changes from the Court’s previous time period, including, but

   not limited to, complete changes to how DWCC handles restrictive housing with the adoption of

   IS-B-4 [see, e.g., R. Doc. 733 at 26]; a reduction in Restrictive Housing population at DWCC [see,

   e.g., id. at 3-7]; changes in statuses, privileges, and programming for offenders in N1, CCR, and

   Working Segregation [id.]; changes in monitoring offenders in restrictive housing [see, e.g., id. at

   41-43]; changes to clearing offenders with SMI prior to placement in Restrictive Housing [see,

   e.g., id. at 26]; and changes in pill delivery and medication non-compliance [see, e.g., id. at 45-

   47], to name a few. These changes appear in the record, were addressed by expert testimony, and

   have been briefed for the Court.

          In light of the changes proven by the Defendants, it became the Plaintiffs’ burden to

   demonstrate that the changes were “insufficient or deficient.” [R. Doc. 675 at 6.] The Court

   specifically found that “[i]nherent in this burden is that the Plaintiff must also prove the nature and

   extent of that injunctive relief and that the relief sought is narrowly tailored to eliminate the

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   existing harms.” Id. The Plaintiffs suffer from a complete failure of proof as to their burden on

   remedy. Plaintiffs’ failure of proof is so pervasive and severe that they cannot prevail.

            On November 4, 2022, 24 days before Plaintiffs’ expert reports were due, the Court

   directed the Plaintiffs “to discuss the specific injunctive relief and any other type of relief they will

   be requesting at trial” in their pretrial findings of fact and conclusions of law. [R. Doc. 642.] On

   November 28, 2022, the Plaintiffs submitted three expert reports that contain few specifics on

   relief endorsed by experts based on conditions in August of 2022. See Exs. PR-AA-1, 2, & 3.

            On January 9, 2023, after receiving the Court’s briefing direction, the Plaintiffs in their

   pretrial findings of fact and conclusions of law provided the Court and counsel with less than two

   pages on remedy in a numbered paragraph form. [R. Doc. 665 at 32-33]. In their remedy section,

   the Plaintiffs’ only concrete relief asked for is “that an independent monitor be installed to ensure

   compliance with the injunction.” 2 [R. Doc. 665 at 32.] Certainly, the Plaintiffs did not set forth the

   remedies that they have pulled forth from outside of the record in their posttrial briefing.

            The specific italicized proposals and detail Plaintiffs have provided are only laid out in

   posttrial briefing. These specific proposals and their accompanying detail were not proposed or

   endorsed by their experts, were not included in their experts’ reports, and were not testified to at

   trial. Even if the Court were to ignore that most of these suggestions do not appear in the trial

   record supported by evidence, the record does not contain any testimony or evidence regarding

   whether the specific relief requested is narrowly drawn, extends no further than necessary, or

   adversely impacts public safety and security.

            Of the items that the Plaintiffs have raised that have support in the record, such as

   appointing a monitor, conducting a psychological census, conducting a staffing analysis, and


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     The Plaintiffs do identify disputed issues in the other sections of the report but provide little detail on how to remedy
   the issues they raise.
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   conducting suicide watch according to what the state of Ohio does, Plaintiffs have failed to show

   that these items actually address the violation of a federal right. As to the psychological census,

   staffing analysis, and monitor to create remedies 3, those items are the actual proof that Plaintiffs

   would have used (if they existed and were of record) to prevail in this case if they could prove that

   Defendants’ changes were insufficient. The Plaintiffs have completely failed to carry their burden

   of proof on remedy. The Plaintiffs are hoping that the Court will excuse this glaring failure on

   remedy and fill in the blanks for issues that the Court specifically told the Plaintiffs they bore the

   burden of proof on. The Plaintiffs have failed to create a record that supports Plaintiffs’ briefed

   remedies. The failure to prove “the nature and extent of that injunctive relief and that the relief

   sought is narrowly tailored to eliminate the existing harms” is fatal to the Plaintiffs’ claims for

   relief.

   III.      CONCLUSION

             DRLA is bound by the PLRA as a party with only representational standing. Under the

   PLRA and this Court’s articulation of the burden of proof, the Plaintiffs cannot prevail due to a

   complete failure of proof. Defendants respectfully pray that the Court find that no remedy is

   necessary to address any alleged constitutional deficiencies and that the Plaintiffs have failed to

   carry their burden of proof.




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     The Plaintiffs, having failed to carry the burden of proof on remedy articulated by the Court, state that their failure
   is of no moment because the Court can appoint an expert that will address the issues the Plaintiffs had to prove but
   did not. R. Doc. 734 at 17-18. In support, the Plaintiffs cite an Arizona district court that after finding liability, ordered
   a remedy phase to include that the parties nominate experts to assist the court in crafting an injunction and the
   appointment of such an expert. Here, the case was bifurcated into a liability and remedy phase, and this trial is the
   remedy phase. The Court has repeatedly directed the Plaintiffs to prove the necessary remedies that comply with the
   PLRA. See R. Docs. 642 (minute entry directing Plaintiffs to brief specific injunctive relief, 675 at 4-6 (minute entry
   from the pretrial conference discussing the parties’ burdens of proof); Trial 2 Tr., Vol. XIV, 3137:12-22 (Court notified
   the parties that the end result from the Court would be “the narrowly tailored injunctive relief to the extent the plaintiffs
   have prevailed on that issue”). The Plaintiffs are not entitled to a second remedy phase to cure their failure of proof.

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                                                Respectfully Submitted:

                                                JEFF LANDRY,
                                                ATTORNEY GENERAL

                                                BUTLER SNOW LLP
                                                445 North Boulevard, Suite 300 (70802)
                                                P. O. Box 2997
                                                Baton Rouge, Louisiana 70821-2997
                                                Telephone: (225) 325-8700
                                                Facsimile: (225) 325-8800

                                                By: /s/ Randal J. Robert
                                                        Randal J. Robert (#21840), TA
                                                        Connell L. Archey (#20086)
                                                        Keith J. Fernandez (#33124)
                                                        Madaline King Rabalais (#38301)
                                                        Special Assistant Attorneys General
                                                        Email: Randy.Robert@butlersnow.com
                                                                Connell.Archey@butlersnow.com
                                                                Keith.Fernandez@butlersnow.com
                                                                Madaline.Rabalais@butlersnow.com

                                                Counsel for Defendants


                                   CERTIFICATE OF SERVICE

            I hereby certify that on the 28th day of April 2023, I electronically filed the foregoing
   pleading with the Clerk of Court using the CM/ECF system which will send a notice of electronic
   filing to all counsel of record.

                                          /s/ Randal J. Robert
                                            Randal J. Robert




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